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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


STATE OF SOUTH CAROLINA,

                     Plaintiff,

       v.

UNITED STATES OF AMERICA and ERIC              Case No. 1:12-cv-203 (CKK-BMK-JDB)
H. HOLDER, JR., in his official capacity as
Attorney General,

                     Defendants,

       and

JAMES DUBOSE, et al.,

                     Defendant-Intervenors.


               PLAINTIFF’S MOTION TO EXCLUDE TESTIMONY OF
                THEODORE ARRINGTON AND ORVILLE BURTON


       For the reasons set forth in the attached Memorandum, South Carolina hereby moves to

exclude the testimony of Theodore Arrington and Orville Burton under Federal Rule of Evidence

702.

                                           Respectfully submitted,

                                           /s/ H. Christopher Bartolomucci
                                           Paul D. Clement (DC Bar No. 433215)
                                           H. Christopher Bartolomucci (DC Bar No. 453423)
                                           Stephen V. Potenza (admitted pro hac vice)
                                           Brian J. Field (DC Bar No. 985577)
                                           Michael H. McGinley (DC Bar No. 1006943)
                                           BANCROFT PLLC
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                                           Washington, D.C. 20036
                                           (202) 234-0090


Dated: August 13, 2012                     Counsel for the State of South Carolina
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 13, 2012, I filed the foregoing notice with the Court’s

electronic filing system, which will provide notice to all counsel of record.

                                                      /s/ H. Christopher Bartolomucci

                                                      H. Christopher Bartolomucci
                                                      (D.C. Bar No. 453423)
